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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

US DOMINION, INC., et al.,

                    Plaintiffs,                        No. 1:21-cv-02130-CJN

        v.

HERRING NETWORKS, INC., et al.,                        Judge Carl J. Nichols

                    Defendants.


               AMENDED COUNTERCLAIM/THIRD-PARTY COMPLAINT

        Herring Networks, Inc., d/b/a One America News Network (“Herring”), Charles Herring,

Robert Herring, and Chanel Rion (collectively, “Counterclaim Plaintiffs”), by and through their

undersigned attorneys, bring this amended action against plaintiffs/counterclaim defendants US

Dominion, Inc., Dominion Voting Systems, Inc., and Dominion Voting Systems Corporation

(collectively, “Counterclaim Defendants”); counterclaim defendant Staple Street Capital LLC

(“Staple Street”); and third-party defendants AT&T Services, Inc. (“AT&T Services”), and AT&T,

Inc. Board Chairman and Staple Street Operating Executive Board Member William Kennard

(“Kennard”) (collectively, “Third-Party Defendants”), alleging counts against some or all of them

for tortious interference and contractual indemnity. In support of their Counterclaim/Third-Party

Complaint, Counterclaim Plaintiffs state as follows:

                                  NATURE OF THE ACTION

        1.      Counterclaim Defendants appear to have hit upon a business model for the

“Dominion” brand that has nothing to do with voting machines, software, or technology. Financed

by Staple Street and directed by Kennard, Counterclaim Defendants have retooled themselves as

professional litigants.
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       2.        Less than three years after the election, Counterclaim Defendants have already been

able to parlay allegations of defamation into a $787.5 million settlement with Fox News Network

(“Fox”) (approximately 15 times what Staple Street paid for a controlling stake in Counterclaim

Defendants in 2018), and politically-like-minded admirers now routinely speak highly of

Dominion voting machines, software, and technology without questioning or investigating how

(or if) the technology works as it should.

       3.        Counterclaim Defendants have managed to position themselves as purported

crusaders for democracy while generating a financial windfall from Fox through litigation and

distracting the public from the well-documented history of very real problems with Dominion

voting machines, software, and technology. It’s a clever trick — Counterclaim Defendants have

turned core political speech earnestly criticizing them into a valuable return on investment for

Staple Street.

       4.        CBS News recognized that Staple Street is the “biggest financial winner” in

Counterclaim Defendants’ settlement with Fox. See Exhibit A. As CBS News reported, “A former

Staple Street employee foresaw the possibility of windfall emerging from Dominion’s litigation

against Fox, according to court filings. In December 2020, the person sent a Staple Street

executive a text reading, ‘Would be pretty unreal if you guys [make] like 20 [times] your Dominion

investment with these lawsuits.’” Id.

       5.        As part of their effort to artificially boost their reputation and fatten their bottom

line, Counterclaim Defendants have sought to destroy anyone who stood in their way, including

Herring. Herring’s claims seek to redress the unchecked influence and power that Counterclaim

Defendants, Staple Street, and Third-Party Defendants have wielded in an attempt to unlawfully

destroy an independent, family-run business and torch First Amendment freedoms.




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       6.     Family-owned and operated Herring manages two television networks: One

America News Network (“OAN”) and A Wealth of Entertainment, or “AWE.” For several years,

Herring and AT&T Inc. (“AT&T”) had enjoyed a profitable, mutually beneficial business

relationship through which AT&T (through AT&T Services and DIRECTV, LLC (“DIRECTV”))

carried OAN and AWE and was paid generous commissions via selling advertising on OAN and

AWE.

       7.     As a result of the contractual carriage and advertising arrangements, AT&T, AT&T

Services, and DIRECTV profited handsomely, and Herring thrived by growing OAN into one of

the most popular cable channels offered on DIRECTV’s platform.

       8.     But OAN’s coverage of the 2020 presidential election upset Counterclaim

Defendants, Staple Street, and one of their “founding investors,” Kennard.

       9.     Kennard proceeded to put his unlawful personal, political, and financial interests

ahead of the interests of AT&T and orchestrated pressure on AT&T, AT&T Services, and

DIRECTV to violate their contractual duties to Herring and terminate carriage of OAN and AWE.

       10.    The unlawful actions of AT&T, AT&T Services, Kennard, and DIRECTV in

removing OAN and AWE from the airwaves are currently being litigated in the Superior Court of

San Diego County, California in Herring Networks, Inc. v. AT&T, Inc., et al., Case No. 37-2022-

00008623-CU-BC-CTL (the “San Diego Litigation”).

       11.    In contrast to and distinct from the San Diego Litigation — which involves

numerous different parties and different claims — the Counterclaim asserted here focuses on the

unlawful efforts of Counterclaim Defendants to interfere with Herring’s business relationships,

contracts, and reasonable business expectancies through Counterclaim Defendants’ unlawful

influence and the unlawful influence of Staple Street and Kennard.




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       12.     Also in contrast to and distinct from the San Diego Litigation, the Counterclaim

seeks to hold Staple Street liable for tortious interference with Herring’s business relationships and

reasonable business expectancies, and the Third-Party Complaint seeks to hold AT&T Services

and Kennard liable for their contractual indemnity obligations to Herring.

       13.     Counterclaim Defendants, together with Staple Street and Third-Party Defendants,

have flouted the First Amendment in acting unlawfully to try to destroy an independent family

business based on Counterclaim Defendants’ and Third-Party Defendants’ viewpoint

discrimination, political power, selfish profit motives, backroom handshake shenanigans, and

improper manipulation of governmental influence. In fact, Herring is confident discovery will

further reveal that one or more Dominion entities or Dominion-affiliated entities (including via

Dominion Voting Systems Vice President of Government Affairs Kay Stimson) used

governmental entities to unlawfully censor speech. Counterclaim Defendants coordinated out of

the public eye with the Mis-, Dis-, and Malinformation (“MDM”) team at the U.S. Cybersecurity

and Infrastructure Security Agency (“CISA”) (among others) to attack speech that one or more

Dominion entities found troubling for selfish business reasons. This was part and parcel of

Counterclaim Defendants’, Staple Street’s, and Third-Party Defendants’ efforts to unlawfully

interfere with, disparage, and destroy viewpoints politically and financially detrimental to them,

including those expressed via Herring.

       14.     Moreover, Kennard’s involvement in the filing of this lawsuit against Herring is, in

and of itself, a violation of the non-disparagement provision of the relevant Affiliation Agreement.

       15.     These wrongdoings are inextricably intertwined with a larger, coordinated, well-

financed scheme to build up the “Dominion” brand and weaponize it as a profit-making litigation




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machine while taking down Herring (among others) and unlawfully destroying its ability to operate

in the media business.

                                          THE PARTIES

        16.     Herring is a California corporation with its principal place of business in San Diego,

California. It thus is a California citizen for purposes of diversity of citizenship. See 28 U.S.C.

§ 1332(c)(1).

        17.     Robert Herring is CEO of Herring and a California citizen for purposes of diversity

jurisdiction.

        18.     Charles Herring is President of Herring and a California citizen for purposes of

diversity jurisdiction.

        19.     Rion is an OAN reporter and Chief White House Correspondent and a Maryland

citizen for purposes of diversity jurisdiction.

        20.     US Dominion, Inc. is a for-profit Delaware with its principal place of business in

Denver, Colorado. It thus is a Delaware and Colorado citizen for purposes of diversity of

citizenship. See 28 U.S.C. § 1332(c)(1). It is majority-owned by private equity firm Staple Street,

whose principal place of business is in New York, New York.

        21.     Dominion Voting Systems, Inc. is a for-profit Delaware corporation with its

principal place of business in Denver, Colorado. It thus is a Delaware and Colorado citizen for

purposes of diversity of citizenship. See 28 U.S.C. § 1332(c)(1). It is a wholly owned subsidiary

of US Dominion, Inc.

        22.     Dominion Voting Systems Corporation is a for-profit Ontario corporation with its

principal place of business in Toronto, Ontario. It thus is a citizen of Canada for purposes of




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diversity of citizenship. See 28 U.S.C. § 1332(a)(3), (c)(1). It is a wholly owned subsidiary of

US Dominion, Inc.

       23.     AT&T Services is a Delaware corporation with its principal place of business in

Dallas, Texas. It thus is a Delaware and Texas citizen for purposes of diversity of citizenship.

AT&T is the parent company of AT&T Services.

       24.     Staple Street is a Delaware limited liability company. Counterclaim Plaintiffs have

thoroughly investigated Staple Street’s membership but have been unable to confirm with certainty

the identity of the members of the company. On information and belief, Stephen D. Owens, who

is a citizen of New York, and Hootan Yaghoobzadeh, who is a citizen of New York, are the

members of Staple Street. Thus, it is likely a citizen of New York for purposes of diversity of

citizenship. Staple Street is the majority owner of US Dominion, Inc., which in turn is the sole

owner of Dominion Voting Systems, Inc. and Dominion Voting Systems Corporation.1

       25.     Kennard is a resident, domiciliary, and citizen of South Carolina for purposes of

diversity of citizenship. Kennard is the Chairman of the Board of Directors of AT&T. Kennard

also is a founding investor of Staple Street and serves as an Operating Executive Board member.

                                JURISDICTION AND VENUE

       26.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332 because the

parties are of diverse citizenship and the amount in controversy exceeds $75,000 exclusive of

interest and costs.




1
  During the meet-and-confer process, Staple Street suggested that the appropriate corporate
defendants may be Staple Street Capital II LP and Staple Street Capital II-A LP. But Staple Street
did not respond to Counterclaim Plaintiffs’ request for sufficient information to plead the identity
of those parties. Accordingly, Counterclaim Plaintiffs have pled Staple Street’s corporate form
based on the information currently available to them and reserve the right to further amend if
needed.

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       27.     This Court can exercise specific personal jurisdiction over Counterclaim

Defendants because they caused tortious injury in this District by an act or omission outside this

District, harming Counterclaim Plaintiffs’ reputations and business prospects in this District,

where Herring has a news bureau and the Court has held (but Counterclaim Plaintiffs dispute in

part and reserve the right to raise on appeal) that Counterclaim Plaintiffs have sufficient contacts

for jurisdiction in this case. See D.C. Code § 13-432(a)(4). Counterclaim Defendants also have

engaged in a persistent course of conduct in this District by filing this and other lawsuits in the

District related to the 2020 U.S. election. Thus, Counterclaim Defendants have personally availed

themselves of jurisdiction in this Court.

       28.     This Court can exercise specific personal jurisdiction over AT&T Services because

it caused tortious injury in this District by an act or omission outside this District, harming

Counterclaim Plaintiffs’ reputations and business prospects in this District, where Herring has a

news bureau, and the Court has held (but Counterclaim Plaintiffs dispute in part) that Counterclaim

Plaintiffs have sufficient contacts for jurisdiction. See DC Code § 13-432(a)(4). Moreover, AT&T

Services regularly does and solicits business in this District.

       29.     This Court can exercise specific personal jurisdiction over Staple Street because it

caused tortious injury in this District by an act or omission outside this District, harming

Counterclaim Plaintiffs’ reputations and business prospects in this District, where Herring has a

news bureau and the Court has held (but Counterclaim Plaintiffs dispute in part) that Counterclaim

Plaintiffs have sufficient contacts for jurisdiction. See DC Code § 13-432(a)(4).

       30.     This Court can exercise specific personal jurisdiction over Kennard because he

possesses real property in the District of Columbia. See DC Code § 13-432(a)(5); see also Decl.

of William Kennard in Support of Mot. to Quash, Herring Networks, Inc. v. AT&T, Inc., Case No.




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37-2022-00008623-CU-BC-CTL, ¶ 11 (Cal. Super. Ct. Apr. 6, 2022) (“I primarily conduct my

duties for AT&T Inc. from one of my two residences — in South Carolina and Washington, D.C.”).

Moreover, Kennard has caused tortious injury in this District by an act or omission outside this

District, harming Counterclaim Plaintiffs’ reputations and business prospects in this District,

where Herring has a news bureau and the Court has held (but Counterclaim Plaintiffs dispute in

part) that Counterclaim Plaintiffs have sufficient contacts for jurisdiction. See D.C. Code § 13-

432(a)(4).

       31.     Venue is proper under 28 U.S.C. § 1391(b) because the Court has personal

jurisdiction over all parties and a substantial part of the events giving rise to the counterclaims and

third-party claims occurred in this District.

                                   FACTUAL BACKGROUND

A.     Herring’s business

       32.     Herring is an independent media company headquartered in San Diego, California.

CEO Robert Herring, Sr. (“Robert”) started the company in 2003 with his sons, Charles Herring

(“Charles”) and Robert Herring, Jr. (“Bobby”). Charles is the President of Herring, and Bobby is

the General Manager.

       33.     OAN, launched on July 4, 2013, is a news channel that delivers timely national and

international news 24 hours a day throughout the United States. It features political analysis

programming, political talk shows, and special documentary-style reports. OAN provides more

live news than any other network. As of the third quarter of 2021 (the last time this data was made

available to Herring), AT&T’s own data showed that OAN was a top-performing network, ranked

24th (excluding broadcast networks) out of over 300 channels, putting OAN in the top 10 percent

of channels offered via DIRECTV. OAN outperformed CNBC, Fox Business, CNN Headline




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News, and Newsmax, as well as popular entertainment channels such as Paramount Network,

Comedy Central, and Animal Planet. Additionally, OAN’s extensive live programming lineup,

which preserves the linear experience for viewers, is an ideal genre moving forward to compete

with streaming services that don’t offer live programming experiences.

       34.    AWE is a lifestyle and entertainment channel, which Herring launched in 2004.

AWE airs a wide range of programming, including travel-related series, automotive shows,

international news, documentaries, and live championship boxing. AWE has demonstrated

excellent performance since its inception. It is distributed domestically on dozens of cable

systems; it has received regional Emmy awards and nominations for its productions; its live

championship boxing programming has received multiple recognitions; and as of Q3 2021 (the

last time this data was made available to Herring), AWE performed in the top 35 percent of the

channel lineup according to AT&T’s own data.

B.     AT&T helped launch OAN.

       35.    AT&T is the largest combined telecommunications and entertainment company in

the world. It provides mobile telecommunications, broadband, and Internet subscription services

throughout the United States and Latin America. Between 2018 and April 2022, AT&T also ran

a significant media business through its WarnerMedia division and owned and operated several

networks, including CNN and HBO. Herring and AT&T had been in business together since 2006,

when AT&T began distributing AWE on its “U-Verse” network. Through its then-WarnerMedia

subsidiary, AT&T managed one of the world’s largest TV and film studios and delivered streaming

services through the HBO Max platform. WarnerMedia also offered a significant portfolio of

advertising solutions through Basic Networks, which sold advertising on WarnerMedia’s networks

and digital properties and through another wholly owned AT&T subsidiary called Xandr, Inc.




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(“Xandr”) (which provides marketers with advanced advertising solutions). As of the close of the

12-month period ending September 30, 2022, AT&T reported $155.65 billion in revenue.

        36.     DIRECTV is the country’s largest paid satellite TV provider. AT&T acquired

DIRECTV in 2015. With a 70 percent ownership interest in DIRECTV, AT&T remains the

majority owner of DIRECTV.

        37.     AT&T Services is another wholly owned subsidiary of AT&T.

        38.     In 2013, at the urging of AT&T, which wanted to compete with Fox News Network

with an alternative conservative-leaning network, Herring launched OAN. AT&T Services and

OAN entered into a Network Affiliation Agreement on April 10, 2014. AT&T was planning to

take an equity stake in Herring to ensure that OAN gained carriage on DIRECTV (pursuant to a

put-right agreement between AT&T and DIRECTV). The plan was terminated as AT&T began

targeting DIRECTV for a possible acquisition.

        39.     AT&T announced its plan to acquire DIRECTV shortly thereafter and enlisted

Herring’s help to ensure that the Federal Communications Commission (“FCC”) approved the

acquisition. Herring obliged by, among other things, hiring lobbyists, meeting with FCC officials,

and signing filings in support of the acquisition that were ghostwritten by AT&T. In exchange,

AT&T promised to air OAN and AWE on U-Verse and DIRECTV.

        40.     But when the FCC approved AT&T’s acquisition of DIRECTV and the acquisition

completed in July of 2015, AT&T and DIRECTV did not hold up their end of the bargain, forcing

Herring to file suit.

        41.     AT&T Services, DIRECTV, and Herring subsequently entered into an Affiliation

Agreement on March 9, 2017 (“Affiliation Agreement”), which is attached as Exhibit B.




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       42.     Upon information and belief, AT&T Services later fully assigned the Affiliation

Agreement to DIRECTV, but Herring does not possess any assignment agreement. If the

Affiliation Agreement was in fact assigned to DIRECTV, AT&T Services either took the position

that DIRECTV is an Affiliated Company as defined by the Affiliation Agreement (in which case,

the corporate family at issue remains the same) or AT&T Services assigned the agreement without

Herring’s consent in violation of Section 12.2 See Exh. B.

C.     Affiliation Agreement

       43.     The Affiliation Agreement expanded the business relationship between AT&T and

Herring and further extended the business relationship between DIRECTV and Herring. The

Affiliation Agreement demonstrates AT&T’s desire for OAN to compete with Fox News Network,

providing that OAN’s programming was “designed to have broad appeal with special interest to

viewers interested in independent and conservative political thought.”

       44.     The term of the Affiliation Agreement is five years.

       45.     The opening paragraph of the Affiliation Agreement establishes the parties to the

agreement:

       AGREEMENT, made as of March 9, 2017 (the “Effective Date”), by and among
       Herring Networks, Inc., a California corporation (“Programmer”), on the one hand
       and DIRECTV, LLC, a California limited liability company (“DIRECTV”) and
       AT&T Services, Inc., a Delaware corporation, on behalf of itself and its Affiliated
       Companies other than AT&T, Inc., which is not a party to this Agreement, on the
       other hand (“AT&T” and collectively with DIRECTV, “Affiliate” and together
       with Programmer, each a “Party” and collectively the “Parties”)). “Affiliated
       Company(ies)” means, with respect to any person or entity, any other person or
       entity directly or indirectly controlling, controlled by or under common control


2
  Regardless, “under California law, after assigning a contract, the assignor remains responsible
for any obligation imposed by the contract absent consent from the party entitled to its benefit. In
other words, without a release, a third party may assume the obligations, i.e. agree to perform, but
the assignor continues to be liable to the other party to the contract in the event of a default on the
part of the assignee.” Cuscinetti v. Beaver Precision Prod., 1996 WL 743801, *6 (N.D. Cal. Dec.
23, 1996).

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       (i.e., the power to direct affairs by reason of ownership of voting stock, by contract
       or otherwise) with such person or entity.” (Emphasis added).

       46.     Kennard certainly falls within the definition of a “Party” via the broad definition of

an “Affiliate Company” — he is a “person” who “directly controls” AT&T Services, Inc. (i.e., has

the “power to direct affairs”) by virtue of his role as the board chair for parent company AT&T,

which is the 100 percent owner of AT&T Services, and by virtue of actions he has taken to

influence the relevant actions of AT&T Services with respect to the Affiliation Agreement.

       47.     The remainder of the agreement (taken as a whole) is consistent with this

interpretation because the Affiliation Agreement repeatedly reflects a desire to extend the

provisions of the contract beyond the signatories.

       48.     Section 8.1 extends indemnity protection to all of “Affiliate’s contractors,

subcontractors and authorized distributors and agents, and the members, directors, officers,

employees and agents of Affiliate, such Affiliated Companies and such contractors, subcontractors

and distributors and agents.”

       49.     Section 16 extends the confidentiality and non-disparagement obligations to

“Affiliate and its Affiliated Companies and all of their current, then-current and former members

of the Board of Directors, officers, representatives, agents, employees, attorneys, parent

companies, subsidiaries, insurers, partners, predecessors, contractors, successors and assigns.”

       50.     Section 19 states that “[n]either Party may interfere with, and each Party shall take

reasonable steps to prevent its officers and employees from interfering with, the other Party’s and

such other Party’s Affiliated Companies’ (and/or the Programmer Related Parties’ or the AT&T

Related Parties’, as applicable) relations with its or their customers, third-party vendors, or

government or community relations.”




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       51.     Section 25.2 extends the mutual release to “Affiliate, the AT&T Related Parties,

and their respective Representatives, or any of them, and all of their respective past, present and

future parent entities, direct or indirect subsidiaries, affiliates, divisions, facilities, operators,

partners, members, representatives, principals, officers, directors, shareholders, agents,

employees, insurers, independent contractors, heirs, trusts, beneficiaries, successors-in-interest,

assigns and attorneys.”

       52.     All of these provisions clearly show that the parties did not envision that the rights

and responsibilities in the Affiliation Agreement would be narrowly limited to the signatories.

       53.     Moreover, the facts demonstrate that Kennard, as the board chairman for AT&T,

sets the agenda for and directly formulates AT&T’s and its subsidiaries’ strategic policy, has an

outsized role in directing its management’s actions in significant matters, and has sufficient power

to direct the affairs of AT&T Services to be considered within the definition of a party under the

Affiliation Agreement.

       54.




       55.     After execution of the Affiliation Agreement, OAN grew substantially, benefiting

AT&T, AT&T Services, and DIRECTV. As of 2021, a substantial amount of OAN’s revenue

came from the Affiliation Agreement.




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D.     Violations of the Affiliation Agreement by AT&T Services.

       56.      From April 2020 through mid-2021, AT&T Services’ Representatives3 openly

disparaged OAN through CNN and HBO, which AT&T at the time owned via its WarnerMedia

division.

       57.      While DIRECTV was still 100 percent owned by AT&T, AT&T Services began

breaching the non-disparagement provisions in the Affiliation Agreement through CNN, which

competes with OAN. On January 10, 2021, during CNN’s Reliable Sources program, CNN chief

media correspondent Brian Stelter (now terminated) interviewed CNN media reporter Oliver

Darcy, who stated, “You have corporations and people that are profiting off of lies and conspiracy

theories, whether that is big tech, whether that’s Fox News, whether that’s TV providers that beam

OAN and Newsmax into homes.” Stelter responded, “Right. This is a poisoned informational

well. That is the big story here.”

       58.      On January 17, 2021, CNN’s Stelter continued promoting disparagement of OAN

by inviting former Facebook Chief Security Officer Alex Stamos on his Reliable Sources program.

During the program, Stamos advocated eliminating the capability of conservative programs such

as OAN from reaching large audiences. Stamos stated, “And then we’re going to have to figure

out the OANN and Newsmax problem, that these companies have freedom of speech, but I’m not

sure we need Verizon, AT&T, Comcast, and such to be bringing them into tens of millions of

homes. . . . Allowing people to seek out information if they really want to, but not pushing it into

their faces, I think, is where we’re going to have to do here.” CNN’s Stelter thanked Stamos for

his comments.




3
 The Affiliation Agreement defines “Representatives” as “any individual or entity over which a
Party or an AT&T Related Party . . . exercises influence.”

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       59.    On January 22, 2021, Bloomberg News Canada published an article quoting CNN’s

Darcy and CNN analyst Max Boot.         In the article, Darcy implied that conservative channels

contributed to the deeply unfortunate events of January 6, 2021 at the U.S. Capitol. In that same

article, Boot wrote that “cable providers should ‘step in and kick Fox News off.’ If Newsmax and

rival One America News Network ‘continue to incite viewers, they, too, should be booted off,’

[CNN analyst Boot] added.”

       60.    Throughout 2021, CNN steadily released a drumbeat of similar reports and

commentary that falsely accused OAN of contributing to the events of January 6, 2021 and

engaging in “disinformation” campaigns.

       61.    AT&T Services also breached the non-disparagement provisions in the Affiliation

Agreement on April 5, 2020, when HBO’s Last Week Tonight with John Oliver dedicated an entire

segment to OAN. Host John Oliver made the following comments about OAN during the segment:

             “The whole selling point for OAN is that they are Fox News with even less shame

              and even fewer scruples.”

             “And I know that it is easy to dismiss OAN as just a stupid, little watched,

              borderline self-parody. The problem is if we’re learning one thing right now it’s

              that toxic things that start small can get big fast and it’s dangerous to ignore them.”

             “OAN’s weird combination of far right-wing talking points and dirt stupid

              reporting is incredibly dangerous at a time like this.”

             “It is more important than ever to be on the lookout for OAN’s bullshit and to make

              sure no one that you know is falling for it either.”

       62.    Oliver doubled down in his October 10, 2021 episode, referring to OAN as a

“ragtag band of fascists” and stating that “with [AT&T’s] help, OAN has grown into the toxic




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network that is today — one that’s happy to give a platform to batshit election fraud theories from

America’s most out-of-breath pillow fetishist.”

       63.     Around that same time, CNN also doubled down on its disparagement attack on

OAN. For example, on October 6, 2021, CNN anchor Don Lemon (now terminated) stated that

OAN is “corrosive to our democracy” and CNN media reporter Oliver Darcy referred to OAN as

a “far right-wing conspiracy channel” that “promotes all sorts of nonsense.” The next day when

appearing on CNN’s New Day, Stelter called OAN “conspiracy laden” and accused OAN of

putting “some of the worst of the worst content out there.” He went even further to state that

“there’s a difference between real news and conspiracy crap. . . [OAN] goes on the air and lies to

people who for some reason want the lies.”

       64.     Additionally, when speaking with Darcy and Reuters reporter John Shiffman on an

October 7, 2021 episode of The Lead with Jake Tapper, Tapper referred to OAN as “the ultra-far-

right cable network that’s a major source of lies masquerading as facts.”

       65.     Most recently, AT&T took aim at OAN in its 2023 Notice of Annual Meeting of

Stockholders and Proxy Statement, claiming without provocation that “OAN’s news anchors have

been tied to white supremacist movements and have actively supported claims that the 2020

presidential election was stolen.” See Exhibit D.

       66.     These are mere examples of the ways in which AT&T Services has breached the

non-disparagement provision in the Affiliation Agreement.

E.     Violations of the Affiliation Agreement by Kennard

       67.     Kennard also has repeatedly violated the Affiliation Agreement.

       68.




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69.



70.




71.




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       76.




       77.     In all of the actions set forth in Paragraphs 67-77, Kennard plainly took an active

interest and role in addressing and dealing with AT&T and DIRECTV’s relationship with Herring.

F.     The links between Counterclaim Defendants and AT&T

       78.     Kennard serves as a member of the Operating Executive Board of Directors of

Staple Street, which is the majority owner of US Dominion, Inc.

       79.     But Kennard is not just a board member — according to a public biography, he also

is a “founding investor” in Staple Street, deeply and personally invested in its financial success.4

       80.



       81.     Kennard was appointed as Chairman of AT&T’s Board on November 6, 2020 —

three days after the 2020 U.S. presidential election. Around this same time, Staple Street’s Web

site underwent a full transformation, and all information about Staple Street’s investment in

Dominion and Kennard’s role as a member of Staple Street’s Operating Executive Board of

Directors vanished.




4
   See https://law.yale.edu/studying-law-yale/alumni-student-profiles/william-kennard-81 (last
visited May 5, 2023)

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        82.     In addition to being Chairman of the Board of AT&T, Kennard also sits on AT&T’s

Public Policy and Corporate Reputation Committee, which has “the authority to review AT&T’s

management of its brands to ensure that the value and reputation of the Company’s brand names

is maintained and enhanced.”

        83.     Kennard, who is a registered Democrat, has deep ties to the Democratic Party,

having been appointed in 1997 as Chairman of the FCC by President Bill Clinton and in 2009 as

the U.S. Ambassador to the European Union by President Barack Obama.

        84.     Kennard has personally donated nearly $90,000 to a combination of Barack Obama,

the Democratic National Committee, the Democratic Congressional Campaign Committee, and

the Democratic Senatorial Campaign Committee and bundled more than half a million dollars in

donations to the Obama campaign.

        85.     When Staple Street acquired US Dominion, Inc. in 2018, it announced that “[w]e

are excited to partner with [Dominion CEO John Poulos] and the Dominion Voting team as they

embark on their next phase of growth. . . .” Like any private equity company, Staple Street’s goal

in acquiring US Dominion, Inc. as a portfolio company was presumably to make the company as

profitable as possible so Staple Street could in turn sell it for a profit.

        86.     On October 8, 2020, Staple Street’s Form D Notice of Exempt Offering of

Securities filed with the Securities and Exchange Commission disclosed that Staple Street had

raised $400 million from unknown investors in an unusual “one and done” deal. This additional

capital raise suggests that Staple Street continues to invest in US Dominion, Inc.’s success.

        87.     Dominion similarly is profiting handsomely from Staple Street’s investment. In

addition to the $787.5 million received from Fox, public filings from that litigation reveal that in




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October 2021, Staple Street caused Dominion to distribute $8 million to shareholders and that as

of April 2022, Dominion was on pace to exceed $110 million in revenue in 2022.5

       88.     Kennard’s role as Chairman of AT&T’s Board gives Kennard significant influence

over AT&T, its subsidiaries, and the companies it owns majority stakes in. Indeed, according to

the publicly filed bylaws of AT&T, “the Chairman of the Board . . . shall have authority to vote

and otherwise act on behalf of the corporation . . . at any meeting of stockholders, or with respect

to any action of stockholders of any other corporation in which this corporation may hold

securities, and otherwise to exercise any and all rights and powers that this corporation may possess

by reason of its ownership of securities in any other corporation.”

       89.     Despite these significant connections and the potential for conflicts of interest,

AT&T and Kennard have made this information difficult for investors to discover. For example,

the recent AT&T proxy statement contains a bio for Kennard that omits any reference to Staple

Street. See Exh. D, p. 4.

       90.     Likewise, AT&T’s most recent and other prior proxy statements repeatedly

highlighted that Kennard is the “independent” Chairman of the Board of Directors of AT&T. Yet,

AT&T’s proxy statements have not disclosed that (i) Kennard indirectly owns an interest in one

or more of Counterclaim Defendants, (ii) Kennard serves on the Operating Executive Board of

Staple Street, and (iii) Kennard was personally involved in the decision not to renew OAN, to the

financial detriment of AT&T’s stockholders.




5
  US Dominion, Inc. v. Fox Corporation, N21C-11-082 (Superior Court of Delaware, Feb. 16,
2023 Fox News Network Br. in support of its Rule 56 Mot. for Summ. J. at 153.)

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       91.     Additionally, AT&T declined to include in its proxy statement a proposal from the

National Center for Public Policy Research that would have highlighted these conflicts. The

proposed language stated:

       The Company’s fiduciary duty to its shareholders demands that decisions as to
       which networks and programming to carry should not be the result of activist
       pressure or any reason other than the pecuniary interest of the Company. Making
       decisions on the basis of viewpoint discrimination harms the Company’s bottom
       line by reducing diversity of programing and the Company’s attraction to a wide
       array of audiences, while placing the Company at great reputational, financial, and
       legislative and related risk.

See Exhibit M.

G.     Counterclaim Defendants sued Herring for defamation, seeking more than $1.6
       billion in damages in an attempt to destroy Herring and silence OAN.

       92.     According to Counterclaim Defendants, OAN’s coverage of President Trump’s

newsworthy allegations that the integrity of the 2020 presidential election was compromised,

including allegations that Counterclaim Defendants’ voting machines were unreliable and

unsecure, harmed their reputations.

       93.     Counterclaim Defendants began pursuing a public relations strategy to burnish

Counterclaim Defendants’ public image in early 2021 by unleashing a torrent of defamation

lawsuits against multiple Trump campaign surrogates and media outlets including Fox, Newsmax,

Rudy Giuliani, Sidney Powell, Patrick Byrne, and Michael Lindell.

       94.     As an Operating Executive Board member of US Dominion, Inc.’s majority owner,

Staple Street, Kennard is invested in helping to make the Dominion entities succeed and become

as profitable as possible. This includes ensuring that the Dominion entities silence their opponents

such as Herring, which featured critics of the Counterclaim Defendants in the marketplace of ideas.

       95.     In addition to being an Operating Executive Board member of Staple Street,

Kennard also is a direct investor in one or more Counterclaim Defendants.



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       96.      Kennard is an agent of both Staple Street and Counterclaim Defendants.

       97.      At some point in or before August 2021, Counterclaim Defendants, through Staple

Street and Kennard, determined that the destruction of Herring would be beneficial to their political

and business interests.

       98.      Accordingly, on August 10, 2021, Counterclaim Defendants, under the direction of

Staple Street and Kennard, filed this lawsuit against Herring, Robert Herring, Charles Herring,

Rion, and then-Herring employee Christina Bobb. Counterclaim Defendants allege that Herring

and the other defendants defamed Counterclaim Defendants in connection with OAN’s coverage

of the 2020 presidential election and seek at least $1.6 billion in damages against Herring.

       99.      In public interviews, Poulos claimed that it is “[o]ne hundred percent correct” that

Counterclaim Defendants will not accept a settlement in their defamation litigation and that they

intend to take all of their cases to trial.6 Lo and behold, Counterclaim Defendants were willing to

settle at least one case (i.e. the one against Fox) before opening statements even occurred — for

nearly $1 billion.

       100.     One way to hasten Herring’s destruction was by cutting off Herring’s ability to earn

revenue to help fund speech, including speech critical of Counterclaim Defendants, and Herring’s

litigation defense by pressuring carriers to take OAN off the air.

H.     Liberal organizations pressured AT&T to “drop” OAN.

       101.     The prime opportunity for Counterclaim Defendants, through Staple Street and

Kennard, to put pressure on AT&T to ensure that DIRECTV ceased carrying OAN arose in the

fall of 2021.



6
  Dominion Voting Systems Sues Ex-Trump Lawyer Over False Claims, NPR (Jan. 12, 2021, 5:06
AM),      https://www.npr.org/2021/01/12/955938741/dominion-voting-systems-sues-ex-trump-
lawyer-over-false-claims (last visited May 5, 2023).

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       102.   On October 6, 2021, Reuters published an article titled “How AT&T helped build

far-right One America News.”

       103.   In response to that article, AT&T released the following statement, providing

confidential information on how the Affiliation Agreement came to be (and implying that AT&T

carried OAN only because OAN had forced AT&T’s hand by suing AT&T in 2016):




       104.   Immediately upon release of the Reuters article, liberal organizations began

publicly criticizing AT&T for its relationship with OAN.

       105.   On October 6, 2021, NAACP President Derrick Johnson issued a public statement

condemning AT&T for supporting OAN. In that statement, the NAACP accused AT&T of causing




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“irreparable damage to our democracy,” stating that it was “sickened by these revelations.”7 The

NAACP’s statement was picked up and published throughout the media.8

       106.   Media Matters of America (“Media Matters”), a politically left-wing organization

founded by a prominent political operative within the Democratic Party, began a public Twitter

campaign criticizing OAN and AT&T. On October 6, 2021, Media Matters President Angelo

Carusone tweeted, “I want to just put a few things out there about OANN and ATT/DirecTV . . .

on how absurd and odious this deal is. ATT has been paying OANN. . . . The amount of revenue

they give OANN every month is massive. But it’s worse than that.”9 Carusone went on to take

AT&T to task for “propping up” OAN.

       107.   Media Matters then published articles critical of AT&T’s relationship with OAN.

One such article published October 8, 2021, titled “Fact-checking AT&T’s defense of single-

handedly funding OAN,” criticized AT&T, stating “AT&T is having a bad day after the first part

of a bombshell Reuters exposé uncovered the company’s extensive involvement in helping to

create and fund the far-right conspiracy theory outlet One America News Network.”




7
 Press Statement, NAACP, NAACP President and CEO, Derrick Johnson, Released the Following
Statement Following the Revelation that AT&T Backs One America News (OAN) (Oct. 6, 2021),
https://naacp.org/articles/naacp-president-and-ceo-derrick-johnson-released-following-statement-
following-revelation (last visited May 5, 2023).
8
  See, e.g., Dominick Mastrangelo, NAACP President blasts AT&T after report linking company
to     One       America   News,     THE     HILL     (Oct.    6,     2021,      2:51      PM),
https://thehill.com/homenews/media/575604-naacp-president-blasts-att-after-report-linking-
company-to-one-america-news/ (last visited May 5, 2023).
9
     Angelo      Carusone   (@GoAngelo),      TWITTER (Oct.         6,    2021,    4:07   PM),
https://twitter.com/GoAngelo/status/1445858337673781249,                 available          at
https://tinyurl.com/MMtweet5 (last visited May 5, 2023).



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       108.    On October 7, 2021, Ultraviolet, a women’s advocacy group, joined the fray,

calling on AT&T CEO John Stankey to either resign or immediately sever ties with OAN and fire

Ed Gillespie, the former Chairman of the Republican National Committee who had joined AT&T

as its senior vice president of external and legislative affairs.10 Ultraviolet also criticized AT&T

for donating to Texas Republican lawmakers who facilitated the passage of recent legislation

relating to abortions.

       109.    Other left-leaning publications and organizations followed suit.11

       110.    Kennard — acting as an agent in the financial interests of Staple Street and

Counterclaim Defendants — saw this as an opportunity to weaken Herring and decided to offer up

OAN as a sacrificial lamb to the NAACP and other groups, while Kennard and/or AT&T’s

representatives convinced Herring that there was no reason to be concerned.

       111.    AT&T agreed to meet with the NAACP shortly after the Reuters article was

published. On information and belief, AT&T executives first met with the NAACP during the

week of October 11, 2021 to address OAN.

       112.    On October 20, 2021, the NAACP issued a press release stating that NAACP

President Derrick Johnson would be meeting with AT&T leadership the next day, on October 21,




10
  Press Release, UltraViolet, UltraViolet Says AT&T CEO John Stankey Should End Company’s
Relationship With Radical Right-Wing Media Outlet OAN, Stop Donations to Anti-Choice
Politicians—or        Step        Down         (Oct.      7,      2021,    2:50       PM),
https://www.commondreams.org/newswire/2021/10/07/ultraviolet-says-att-ceo-john-stankey-
should-end-companys-relationship-radical (last visited May 5, 2023).
11
   Charlie Cray, How AT&T Funds Right Wing Extremism and Six More Scary Things You Need
to Know About the Company, GREENPEACE (Oct. 26, 2021), https://www.greenpeace.org/usa/how-
att-funds-right-wing-extremism-and-six-more-scary-things-you-need-to-know-about-the-
company/; November 8, 2021 letter to AT&T and DIRECTV at 1, available at
https://tinyurl.com/oannletter (last visited May 5, 2023) (emphasis in original).



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in Washington, D.C.12 The release further stated, “The meeting will focus on the need for AT&T

to drop OAN immediately.”

       113.    At least one more meeting with the NAACP related to the carriage of OAN

occurred during the week of October 25, 2021.

       114.    The meetings included Mr. Gillespie and others in AT&T’s leadership. During

those meetings, the NAACP demanded that AT&T de-platform OAN from DIRECTV and AT&T

U-Verse, which are both products directly owned by DIRECTV, not AT&T. In other words, while

AT&T publicly claimed on the one hand that it was not affiliated with DIRECTV and did not

participate in programming decisions made by DIRECTV, AT&T took meetings with

organizations such as the NAACP suggesting that AT&T in fact had the authority and ability to

influence DIRECTV’s programming decisions (which makes sense because AT&T is a majority

owner of and controls the board of DIRECTV). And the chairman of AT&T’s board was Kennard,

whose personal fortunes are inextricably tied to Staple Street and Counterclaim Defendants.

       115.    Kennard’s dual roles with AT&T and Staple Street created a conflict of interest for

him in anything having to do with AT&T’s or DIRECTV’s relationship with Herring because US

Dominion, Inc., owned largely by Staple Street, is suing Herring for $1.6 billion.

       116.    At least one journalist seemed to understand the conflict of interest facing Kennard

— New York Times reporter Ken Vogel contacted Counterclaim Defendants on October 18, 2021,

asking about Kennard’s “affiliations on both sides of this legal dispute.”

       117.    As AT&T and DIRECTV faced this criticism and mounting pressure to remove

OAN from the airwaves, Kennard’s and/or AT&T’s representatives were in direct contact with



12
   See Joseph Choi, NAACP, AT&T to meet to discuss OANN, THE HILL (Oct. 20, 2021, 5:42 PM),
https://thehill.com/homenews/media/577669-naacp-att-to-meet-to-discuss-oann (last visited May
5, 2023).

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Charles Herring and Robert Herring, lying to them by claiming that there was no reason to be

concerned and continuing with business as usual, leading Herring to believe that carriage would

continue on DIRECTV.

       118.    If Herring had known the true motives of AT&T — driven by Kennard’s desire to

bolster Staple Street and Counterclaim Defendants and destroy Herring — it would have taken

action much sooner to protect its interests and ensure that carriage continued.

I.     AT&T publicly announced that DIRECTV would “drop” OAN and AWE.

       119.    Given AT&T’s sole ownership of AT&T Services and AT&T’s majority ownership

in DIRECTV, it is obvious that AT&T — through Kennard — induced DIRECTV to discontinue

its relationship with Herring without legally adequate justification.

       120.    On Friday, January 14, 2022, OAN President Charles Herring spoke with

DIRECTV Senior Vice President of Content Rob Thun (“Thun”). Throughout much of Herring’s

relationship with AT&T, Thun has been Herring’s primary contact with AT&T and DIRECTV.

During that call, Thun informed Charles that DIRECTV decided not to renew the Affiliation

Agreement. Thun informed Charles that the decision was made at the board level and was

“political,” implying that outside forces, such as AT&T and/or Kennard (given his agency role

with US Dominion, Inc.’s owner, Staple Street), had influenced the decision. Indeed, Charles later

learned that AT&T’s CEO, John Stankey, knew at least two days before that OAN would not be

renewed. The news stunned Herring.

       121.    That same day, Bloomberg News released an article titled “DirecTV to Drop One

America News in Blow to Conservative Channel.”13 DIRECTV provided confidential information



13
  See Gerry Smith, DirecTV to Drop One America News in Blow to Conservative Channel,
BLOOMBERG (Jan. 14, 2022, 5:44 PM), https://www.bloomberg.com/news/articles/2022-01-
14/directv-to-drop-one-america-news-in-blow-to-conservative-channel (last visited May 5, 2023).

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regarding the parties’ discussions on the non-renewal of the Affiliation Agreement to Bloomberg

News, writing via email that it had “informed Herring Networks that, following a routine internal

review, we do not plan to enter into a new contract when our current agreement expires.” Multiple

news outlets such as The Wall Street Journal, The New York Times and The Washington Post

picked up the article, and DIRECTV has since provided similar statements to other media outlets.

       122.    The pre-announcement by DIRECTV to not renew OAN — more than 75 days in

advance — is atypical in the industry. There is no question that AT&T’s strategy, overseen by

Kennard, was intended to harm OAN. By making the gratuitous announcement that breached the

Affiliation Agreement, AT&T signaled to the public that something was wrong, hurting OAN’s

business and standing in the news media business.

       123.    The gratuitous announcement by DIRECTV also constituted a breach of the

confidentiality provision in the Affiliation Agreement, a breach that DIRECTV has admitted in its

answer in the San Diego Litigation. See Exhibit N.

       124.    Concerns about OAN’s viability directly sparked by DIRECTV’s aggressive, well-

in-advance notification approach, have significantly harmed OAN.

       125.    Counterclaim Defendants’ goal of destroying OAN — which is the stated goal of

this litigation — was clearly served by the decision not to renew OAN, as was the unusual public

notice of that decision.

       126.    Limited jurisdictional discovery in the San Diego Litigation has already revealed

that Kennard directly disparaged Herring.

       127.    Herring is confident that discovery will further demonstrate that Kennard, working

as an agent for both Staple Street and Counterclaim Defendants, was directly involved in

DIRECTV’s decision to non-renew OAN and that Kennard has personal, political, and financial




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interests in the destruction of OAN that are inconsistent with his fiduciary obligations to AT&T

shareholders.

        128.     The attacks on carriage of OAN and Counterclaim Defendants’ stated goal of

silencing the network are inextricably intertwined with the allegations Counterclaim Defendants

have made in their Complaint. The Complaint by the Dominion entities is not a typical defamation

case, seeking reasonable damages to remedy reputational harm. It is a scorched-earth effort by the

Dominion entities (under the direction of Staple Street and Kennard) to use defamation law to

silence critics and eliminate differing opinions, something that should be of concern to Americans

across the political spectrum, while attempting to achieve a personal astronomical return on

investment.

        129.     Counterclaim Defendants’ focus on muzzling OAN and similar voices while

laughing all the way to the bank is apparent from the Counterclaim Defendants’ discovery efforts

in US Dominion, Inc. v. Fox Corporation, N21C-11-082 (Superior Court of Delaware), where

Counterclaim Defendants issued subpoenas to Altice USA Inc., Verizon Communications Inc.,

and Comcast Corp. seeking carriage information and related agreements, including discussions

related to OAN (which is not a party in that case).

        130.     Counterclaim Defendants are not satisfied with trying to extract a pound of flesh

— they are clearly focused on trying to use their lawsuits and their disparagement of conservative

voices to punish dissenting speech and drive it from the marketplace of ideas in an improper and

tortious fashion.

        131.     Indeed, Counterclaim Defendants, through the efforts of Kennard and Staple Street,

have already largely achieved that goal with respect to carriage of OAN on DIRECTV and other

carriers.




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       132.    Notably, while this is to the benefit of Counterclaim Defendants, Staple Street, and

Kennard, it is not in the best interests of AT&T and its shareholders.

       133.    The harm to shareholders is not hypothetical — on January 13, 2022, the day before

DIRECTV announced that it was dropping OAN and AWE, AT&T stock was trading at $22.06

per share. By April 6, 2022, the day after carriage of OAN and AWE ended, the price of AT&T

stock had dropped to $17.41 per share (a 21 percent drop representing an overall loss in market

value of more than $20 billion).

       134.    On information and belief, tens of thousands of subscribers left DIRECTV and

AT&T after the carriage announcement.

       135.    AT&T stock experienced a similar loss in value after DIRECTV announced it was

dropping Newsmax in January 2023.

       136.    Notably, prominent figures in Washington, D.C., including former FCC

commissioner nominee Gigi Sohn and dozens of Republican lawmakers, have called for

investigations into the de-platforming of OAN and Newsmax.

       137.    The de-platforming efforts have not been limited to satellite carriers — political

adversaries are also going after advertising dollars. A series published in the Washington

Examiner in February 2023 revealed that advertising company Xandr was being provided with a

“disinformation blacklist” by a British organization known as the Global Disinformation Index

that identified OAN and other conservative outlets as among the “ten riskiest” outlets targeted for

blacklisting by advertisers.

       138.    Xandr’s use of this list prevented certain companies, including OAN, from

advertising because their sites were unfairly marked as “false/misleading.”




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       139.     It is notable that around the time that this series of articles was published, Xandr

attempted to prematurely terminate its contract with OAN.

       140.     Although Xandr is now owned by Microsoft, it was owned by AT&T until mid-

2022, and it is easy to see how the same forces working to boost Counterclaim Defendants to the

detriment of Herring from within AT&T likely utilized Xandr’s “blacklist” to further undermine

Herring.

H.     AT&T’s accusations of defamation, followed by silence, confirm Kennard’s
       involvement.

       141.     After DIRECTV announced it would not renew the Affiliation Agreement, OAN

anchor Dan Ball reported on January 17, 2022, that Kennard pressured DIRECTV to drop OAN

and not renew the Affiliation Agreement. Herring CEO Robert Herring also gave a statement on

January 20, 2022, in which he concluded that Kennard and the AT&T Board directed DIRECTV

to remove OAN from DIRECTV’s channel lineup. On January 21, 2022, AT&T’s counsel sent a

letter to Robert Herring and Ball accusing them of defaming AT&T and Kennard by suggesting

that AT&T and Kennard pressured DIRECTV to drop OAN from its channel lineup. In that letter,

AT&T’s counsel demanded that OAN issue a retraction. See Exhibit O.

       142.     That demand for retraction invoked the Texas Defamation Mitigation Act

(“DMA”), Tex. Civ. Prac. & Rem. Code §§ 73.051-73.062. The DMA states, in relevant part:

       A person who has been requested to make a correction, clarification, or retraction
       may ask the person making the request to provide reasonably available information
       regarding the falsity of the allegedly defamatory statement not later than the 30th
       day after the date the person receives the request. Any information requested under
       this section must be provided by the person seeking the correction, clarification,
       or retraction not later than the 30th day after the date the person receives the
       request.

DMA § 73.056(a).

       143.     The DMA further states, in relevant part:



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       If a correction, clarification, or retraction is not made, a person who, without good
       cause, fails to disclose the information requested under Subsection (a) may not
       recover exemplary damages, unless the publication was made with actual malice.

DMA § 73.056(b).

       144.   On February 2, 2022, Herring sent AT&T a letter responding to AT&T’s

accusations, noting that OAN’s assertions that AT&T and Kennard were involved in DIRECTV’s

decision were not defamatory. See Exhibit P.

       145.   Among other reasons, Herring’s letter stated that the statements were true or

substantially true because AT&T owns 70 percent of DIRECTV and it is likely irrefutable that

Kennard, Chairman of the Board and a member of AT&T’s Public Policy and Reputation

Committee, provided input on how to respond to the demands to drop OAN.

       146.   Herring also demanded, pursuant to the DMA, that AT&T produce information

relating to AT&T’s retraction demand, including but not limited to (i) communications relating to

demands or complaints to AT&T about OAN, including requests that AT&T and/or DIRECTV

drop OAN from carriage via DIRECTV; (ii) internal and external communications by Kennard

about OAN; (iii) information and communications relating to Kennard’s relationship with Staple

Street; (iv) internal and external communications about reporting by OAN regarding DIRECTV’s

non-renewal, AT&T’s ownership interest in or control of DIRECTV, Kennard’s role in non-

renewal of OAN, and the AT&T Board of Directors’ role in the non-renewal of OAN; and

(v) Kennard’s human resources file. Under the DMA, AT&T was required to provide this

information to Herring no later than March 2, 2022.

       147.   Despite the statutory deadline of March 2, 2022, under the DMA — a statute first

invoked by AT&T in its letter — AT&T has neither responded to Herring’s letter nor produced

any of the information requested as of filing this Third-Party Complaint. Given AT&T’s obvious




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familiarity with the DMA and the implications of failing to respond by the deadline, AT&T’s lack

of response shows that AT&T actually has no evidence of falsity as to Dan Ball’s and Robert

Herring’s statements.

          148.   Thus, Ball and Robert Herring were right that AT&T and Kennard, at minimum,

were involved in the decision not to renew the Affiliation Agreement.

          149.   Kennard was motivated to use his role and position of influence at AT&T to induce

DIRECTV not to continue its carriage of OAN, to the benefit of Kennard, Staple Street, and

Counterclaim Defendants and to the detriment of OAN — as well as the detriment of AT&T,

which no longer receives advertising revenue from OAN.

                                  FIRST CAUSE OF ACTION

                   Tortious Interference With Business Relationship/Contract
                      Herring Networks, Inc. v. Counterclaim Defendants

          150.   Herring incorporates Paragraphs 1-55, 78-149 by reference as if fully set forth

herein.

          151.   Until April 2022, Herring had a mutually beneficial and mutually profitable

relationship with DIRECTV and AT&T related to the carriage of OAN and AWE, including

through the Affiliation Agreement.

          152.   Counterclaim Defendants were certainly aware of this relationship — in addition

to the fact that it is widely known to the public that OAN and AWE were carried on DIRECTV,

Counterclaim Defendants had knowledge through their agent Kennard.

          153.   Moreover, the business relationship and related contract between AT&T and OAN

were widely reported in October 2021 and became a source of significant public discussion and

controversy.




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            154.   Counterclaim Defendants, through the actions of their agent Kennard (which were

violations of his fiduciary obligations to AT&T), sought to further their goal of destroying Herring

by pressuring AT&T and DIRECTV to ensure non-renewal of OAN, breaching the disparagement

and confidentiality provisions of the Affiliation Agreement in the process.

            155.   As a result of the pressure imposed by Counterclaim Defendants, through their

agent Kennard, AT&T and DIRECTV breached the confidentiality provision of the Affiliation

Agreement by leaking the details of the carriage agreement in announcing non-renewal.

            156.   Similarly, as a result of the pressure imposed by Counterclaim Defendants, through

their agent Kennard, AT&T and its agents and affiliates breached the non-disparagement provision

in the Affiliation Agreement by repeatedly disparaging OAN.

            157.   Counterclaim Defendants acted with intent, malice and willful disregard for

Herring’s rights through a wrongful act (Kennard’s fiduciary breach) in attempting to undermine

Herring’s business relationships and destroy the company.

            158.   As a result of Kennard’s actions on behalf of Counterclaim Defendants, Herring

was significantly damaged by the breaches of the Affiliation Agreement, in an amount to be proven

at trial.

                                        PRAYER FOR RELIEF

            WHEREFORE, counter plaintiff Herring Networks, Inc. respectfully requests that the

Court enter judgment in its favor on Count I and award the following relief:

            A.     Compensatory and other damages, in an amount to be determined at trial;

            B.     Punitive damages;

            C.     Pre-judgment and post-judgment interest;

            D.     Costs of suit; and




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          E.     Such other and further relief as the Court deems just and proper.

                                 SECOND CAUSE OF ACTION

                        Tortious Interference With Business Expectancy
                       Herring Networks, Inc. v. Counterclaim Defendants

          159.   Herring incorporates Paragraphs 1-55, 78-149 by reference as if fully set forth

herein.

          160.   Until April 2022, Herring had a mutually beneficial and mutually profitable

relationship with DIRECTV and various other cable television carriers related to the carriage of

OAN and AWE.

          161.   Counterclaim Defendants were certainly aware of these relationships — in addition

to the fact that it is widely known to the public that OAN and AWE were carried on DIRECTV

and other carriers, Counterclaim Defendants had knowledge of the DIRECTV relationship through

their agent Kennard.

          162.   Counterclaim Defendants, through the actions of their agent Kennard, sought to

further their goal of destroying Herring by disparaging OAN and catering to left-leaning

organizations seeking the non-renewal of OAN.

          163.   In dereliction of his fiduciary obligations to AT&T stockholders, Kennard (for the

benefit of Counterclaim Defendants) used his influence at AT&T to persuade DIRECTV to change

the status quo and non-renew the Affiliation Agreement, resulting in reduced revenue for both

AT&T and DIRECTV.

          164.   Before Kennard’s exercise of his influence for the benefit of Counterclaim

Defendants, Herring reasonably believed that DIRECTV and other carriers would renew carriage

of OAN, and there was a reasonable probability that this could occur because carriage was

mutually beneficial, generating revenue for Herring and the carriers.



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          165.   Counterclaim Defendants acted with intent, malice, and willful disregard for

Herring’s rights through wrongful acts (Kennard’s fiduciary breaches) in attempting to undermine

Herring’s business relationships and destroy the company.

          166.   As a result of Kennard’s actions on behalf of Counterclaim Defendants, Herring

has been significantly damaged through the loss of its expected future business relationship with

DIRECTV and the loss of carriage on DIRECTV, as well as carriage and future business

relationships on other providers that followed DIRECTV’s lead, including Verizon Fios and

Frontier.

                                       PRAYER FOR RELIEF

          WHEREFORE, counter plaintiff Herring Networks, Inc. respectfully requests that the

Court enter judgment in its favor on Count II and award the following relief:

          A.     Compensatory and other damages, in an amount to be determined at trial;

          B.     Punitive damages;

          C.     Pre-judgment and post-judgment interest;

          D.     Costs of suit; and

          E.     Such other and further relief as the Court deems just and proper.

                                      THIRD CAUSE OF ACTION

                   Tortious Interference With Business Relationship/Contract
                      Herring Networks, Inc. v. Staple Street Capital LLC

          167.   Herring incorporates Paragraphs 1-55, 78-149 by reference as if fully set forth

herein.

          168.   Until April 2022, Herring had a mutually beneficial and mutually profitable

relationship with DIRECTV and AT&T related to the carriage of OAN and AWE, including

through the Affiliation Agreement.



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            169.   Staple Street was certainly aware of this relationship — in addition to the fact that

it is widely known to the public that OAN and AWE were carried on DIRECTV, Staple Street had

knowledge through its agent Kennard.

            170.   Moreover, the business relationship and related contract between AT&T and OAN

were widely reported in October 2021 and became a source of significant public discussion and

controversy.

            171.   Staple Street, through the actions of its agent Kennard (which were violations of

his fiduciary obligations to AT&T), sought to further its goal of destroying Herring by pressuring

AT&T and DIRECTV to ensure non-renewal of OAN, breaching the disparagement and

confidentiality provisions of the Affiliation Agreement in the process.

            172.   As a result of the pressure imposed by Staple Street, through its agent Kennard,

AT&T and DIRECTV breached the confidentiality provision of the Affiliation Agreement by

leaking the details of the carriage agreement in announcing non-renewal.

            173.   Similarly, as a result of the pressure imposed by Staple Street, through its agent

Kennard, AT&T breached the non-disparagement provision in the Affiliation Agreement by

repeatedly disparaging OAN.

            174.   Staple Street acted with malice, intent, and willful disregard for Herring’s rights

through wrongful acts (Kennard’s fiduciary breaches) in attempting to undermine Herring’s

business relationships and destroy the company.

            175.   As a result of Kennard’s actions on behalf of Counterclaim Defendants, Herring

was significantly damaged by the breaches of the Affiliation Agreement, in an amount to be proven

at trial.




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                                      PRAYER FOR RELIEF

          WHEREFORE, counter plaintiff Herring Networks, Inc. respectfully requests that the

Court enter judgment in its favor on Count III and award the following relief:

          A.     Compensatory and other damages, in an amount to be determined at trial;

          B.     Punitive damages;

          C.     Pre-judgment and post-judgment interest;

          D.     Costs of suit; and

          E.     Such other and further relief as the Court deems just and proper.

                                  FOURTH CAUSE OF ACTION

                        Tortious Interference With Business Expectancy
                       Herring Networks, Inc. v. Staple Street Capital LLC

          176.   Herring incorporates Paragraphs 1-55, 78-149 by reference as if fully set forth

herein.

          177.   Until April 2022, Herring had a mutually beneficial and mutually profitable

relationship with DIRECTV and various other cable television carriers related to the carriage of

OAN and AWE.

          178.   Staple Street was certainly aware of these relationships — in addition to the fact

that it is widely known to the public that OAN and AWE were carried on DIRECTV and other

carriers, Staple Street had knowledge of the DIRECTV relationship through its agent Kennard.

          179.   Staple Street, through the actions of its agent Kennard, sought to further its goal of

destroying Herring by disparaging OAN and bowing to the pressure of left-leaning organizations

seeking the non-renewal of OAN.

          180.   In dereliction of his fiduciary obligations to AT&T stockholders, Kennard (for the

benefit of Staple Street) used his influence at AT&T to convince DIRECTV to change the status



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quo and non-renew the Affiliation Agreement, resulting in reduced revenue for both AT&T and

DIRECTV.

       181.    Prior to Kennard’s exercise of his influence for the benefit of Staple Street, Herring

reasonably believed that DIRECTV and other carriers would renew carriage of OAN, and there

was a reasonable probability that this could occur because carriage was mutually beneficial

generating revenue for Herring and the carriers.

       182.    Staple Street acted with malice, intent, and willful disregard for Herring’s rights

through wrongful acts (Kennard’s fiduciary breach) in attempting to undermine Herring’s business

relationships and destroy the company.

       183.    As a result of Kennard’s actions on behalf of Staple Street, Herring has been

significantly damaged through the loss of its expected future business relationship with DIRECTV

and the loss of carriage on DIRECTV, as well as carriage and future business relationships on

other providers that followed DIRECTV’s lead, including Verizon Fios and Frontier.

                                    PRAYER FOR RELIEF

       WHEREFORE, counter plaintiff Herring Networks, Inc. respectfully requests that the

Court enter judgment in its favor on Count IV and award the following relief:

       A.      Compensatory and other damages, in an amount to be determined at trial;

       B.      Punitive damages;

       C.      Pre-judgment and post-judgment interest;

       D.      Costs of suit; and

       E.      Such other and further relief as the Court deems just and proper.




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                                  FIFTH CAUSE OF ACTION

                                   Contractual Indemnity
                           Counterclaim Plaintiffs v. AT&T Services

        184.    Counterclaim Plaintiffs incorporate Paragraphs 1-66, 78-149 by reference as if fully

set forth herein.

        185.    Section 8.2 of the Affiliation Agreement states:

        Affiliate shall indemnify, defend and hold harmless each of [Herring], its parent
        company and its Affiliated Companies, contractors, subcontractors, authorized
        agents, each supplier to [Herring] of any portion of any Service under this
        Agreement and each participant therein and the directors, officers, employees and
        agents of [Herring], such Affiliated Companies, contractors, subcontractors,
        authorized agents, such suppliers and participants therein (collectively, the
        “Programmer Indemnitees”) from, against and with respect to any and all claims,
        demands, actions, or causes of action, damages, liabilities, threatened claims, costs
        and expenses (including reasonable outside attorneys’ and experts’ fees) incurred
        in connection with any third-party claim against the Programmer Indemnitees to
        the extent arising out of (a) Affiliate’s breach or alleged breach of any provision of
        this Agreement.

        186.    As addressed supra ¶ 45, “Affiliate” is defined to include AT&T Services, Inc.

        187.    AT&T Services breached the non-disparagement provision in the Affiliation

Agreement (Section 16.3) including by, among other things, disparaging the Counterclaim

Plaintiffs through its representatives at CNN and HBO repeatedly from April 2020 through mid-

2021, laying the groundwork for this lawsuit in August 2021.

        188.    Because this disparagement by AT&T Services, Kennard’s disparagement of

Herring, Kennard’s control over AT&T Services, Kennard’s dual agency between AT&T Services

and Staple Street, Kennard’s associated conflicts of interest, and AT&T Services’ failure to address

and remedy those conflicts of interest by ensuring Kennard was removed from any decision-

making related to or ability to harm Herring proximately caused Counterclaim Defendants’ lawsuit




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against the Counterclaim Plaintiffs, AT&T Services is obligated to defend and indemnify the

Counterclaim Plaintiffs in this litigation.

       189.    Pursuant to the Affiliation Agreement, AT&T Services owes a duty to indemnify,

defend, and hold harmless Herring and any of its directors, officers, employees and agents for any

breach of the Affiliation Agreement.

       190.    Charles, Robert, and Rion were, at all relevant times, directors, officers, employees

and/or agents of Herring.

       191.    Accordingly, under the Affiliation Agreement, AT&T Services and Kennard are

required to indemnify, defend, and hold harmless the Counterclaim Plaintiffs against the claims,

costs, and expenses (including attorneys’ fees) arising out of the lawsuit brought by Counterclaim

Defendants.

                                     PRAYER FOR RELIEF

       WHEREFORE, Herring Networks, Inc., Charles Herring, Robert Herring, and Chanel Rion

respectfully request that the Court enter judgment in their favor on Count V and award them the

following relief:

       A.      Compensatory and other damages, in an amount to be determined at trial;

       B.      Attorneys’ fees, as provided in the Affiliation Agreement;

       C.      Costs of suit;

       D.      Pre-judgment and post-judgment interest; and

       E.      Such other and further relief as the Court deems just and proper.




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                                  SIXTH CAUSE OF ACTION

                                   Contractual Indemnity
                          Counterclaim Plaintiffs v. William Kennard

        192.    Counterclaim Plaintiffs incorporate Paragraphs 1-55, 67-149 by reference as if fully

set forth herein.

        193.    Section 8.2 of the Affiliation Agreement states:

        Affiliate shall indemnify, defend and hold harmless each of [Herring], its parent
        company and its Affiliated Companies, contractors, subcontractors, authorized
        agents, each supplier to [Herring] of any portion of any Service under this
        Agreement and each participant therein and the directors, officers, employees and
        agents of [Herring], such Affiliated Companies, contractors, subcontractors,
        authorized agents, such suppliers and participants therein (collectively, the
        “Programmer Indemnitees”) from, against and with respect to any and all claims,
        demands, actions, or causes of action, damages, liabilities, threatened claims, costs
        and expenses (including reasonable outside attorneys’ and experts’ fees) incurred
        in connection with any third-party claim against the Programmer Indemnitees to
        the extent arising out of (a) Affiliate’s breach or alleged breach of any provision of
        this Agreement.

        194.    As addressed supra ¶¶ 45-54, although Kennard is not a signatory to the Affiliation

Agreement, he clearly falls within the definition of an “Affiliated Company” and therefore is a

party bound by the terms of the agreement, including Section 8.2.

        195.    Importantly, Kennard is not relieved from his obligations under the Affiliation

Agreement by Section 27, which limits (in certain contexts) liability for directors and officers.

        196.    Any interpretation of Section 27 that would preclude Kennard’s liability would be

inconsistent with the Affiliation Agreement as a whole and would, if accepted, render numerous

provisions of the Affiliation Agreement superfluous. See, e.g., Sections 8.1, 8.2, 16, 19, and 25.

        197.

        198.    Kennard breached the non-disparagement provision in the Affiliation Agreement

(Section 16.3) including by, among other things,




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                         , laying the groundwork both for the filing of this lawsuit by Counterclaim

Defendants (in whom Kennard invests heavily) and the adverse carriage decision by AT&T and

DIRECTV (which Kennard controls).

        199.    In fact, this lawsuit itself is a significant violation by Kennard of the non-

disparagement provision, given that the lawsuit was brought at Kennard’s direction as a member

of Staple Street’s Operating Executive Board, and Kennard stands to potentially financially benefit

personally from the contract-breaching disparagement that is this lawsuit given his direct

investment in one or more Dominion entities and his founding investor status and executive roles

as to Staple Street.

        200.    Kennard’s influence in Counterclaim Defendants’ decision to bring suit “arises out

of” his breaches of the non-disparagement provision in the Affiliation Agreement (including but

not limited to the filing of this lawsuit), triggering the indemnification provision.

        201.    Pursuant to the Affiliation Agreement, Kennard owes a duty to indemnify, defend,

and hold harmless Herring and any of its directors, officers, employees and agents for any breach

of the Affiliation Agreement.

        202.    Charles, Robert, and Rion were, at all relevant times, directors, officers, employees

and/or agents of Herring.

        203.    Accordingly, under the Affiliation Agreement, Kennard is required to indemnify,

defend, and hold harmless the Counterclaim Plaintiffs against the claims, costs, and expenses

(including attorneys’ fees) arising out of the lawsuit brought by Counterclaim Defendants.




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                                     PRAYER FOR RELIEF

          WHEREFORE, Herring Networks, Inc., Charles Herring, Robert Herring, and Chanel Rion

respectfully request that the Court enter judgment in their favor on Count VI and award them the

following relief:

          A.    Compensatory and other damages, in an amount to be determined at trial;

          B.    Attorneys’ fees, as provided in the Affiliation Agreement;

          C.    Costs of suit;

          D.    Pre-judgment and post-judgment interest; and

          E.    Such other and further relief as the Court deems just and proper.

                                     PRAYER FOR RELIEF

                                           (All Claims)

          WHEREFORE, Herring Networks, Inc., Charles Herring, Robert Herring, and Chanel Rion

respectfully request that the Court enter judgment on all causes of action and award the following

relief:

          A.    Compensatory damages, in an amount to be determined at trial;

          B.    Punitive damages against Counterclaim Defendants and Staple Street for tortious

interference;

          C.    Attorneys’ fees against AT&T Services and Kennard pursuant to the Affiliation

Agreement;

          D.    Pre-judgment and post-judgment interest;

          E.    Costs of suit incurred herein; and

          F.    Such other and further relief as the Court deems just and proper.




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                                  JURY TRIAL DEMANDED

       Herring Networks, Inc., Charles Herring, Robert Herring, and Chanel Rion demand a trial

by jury on all claims and issues so triable and request that the jury consist of 12 members.



 Dated: May 5, 2023                                Respectfully submitted,

                                                   /s/ Blaine Kimrey
                                                   Blaine Kimrey, Bar No. IL0091
                                                   bkimrey@vedderprice.com
                                                   Jeanah Park, Bar No. IL0094
                                                   jpark@vedderprice.com
                                                   Bryan Clark, Bar No. IL0090
                                                   bclark@vedderprice.com
                                                   Brian Ledebuhr, Bar No. IL0093
                                                   bledebuhr@vedderprice.com
                                                   VEDDER PRICE P.C.
                                                   222 North LaSalle Street
                                                   Chicago, IL 60601
                                                   T: +1 312 609 7500
                                                   F: +1 312 609 5005

                                                   Brian K. McCalmon, Bar No. 461196
                                                   bmccalmon@vedderprice.com
                                                   VEDDER PRICE P.C.
                                                   1401 New York Avenue, Suite 500
                                                   Washington, DC 20005
                                                   T: +1 202 312 3320
                                                   F: +1 202 312 3322

                                                   Counsel for Counterclaim Plaintiffs




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 5th day of May 2023, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system, which I understand to have

served counsel for the current parties of record.

                                                    /s/ Blaine C. Kimrey
                                                    Blaine C. Kimrey
